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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


   ROPER TECHNOLOGIES, INC.,

          Plaintiff,
                                                        CASE NO. 8:17-cv-1522-T-33MAP
   v.

   ANTHONY LYSENKO,

          Defendant.
                                         /



             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff Roper Technologies, Inc. (“Roper”) by and through undersigned counsel,

   hereby submits this Notice of Voluntary Dismissal Without Prejudice, and dismisses its

   claim against Defendant Anthony Lysenko without prejudice pursuant to Rule 41(a)(1)(A)(i)

   of the Federal Rules of Civil Procedure. Roper files this Voluntary Dismissal because the

   alleged unauthorized attempts to access its computer systems have now ceased after this

   lawsuit was filed. Roper reserves its right to re-file a claim against Lysenko should the

   alleged unauthorized attempts to access its computer systems restart in the future.
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   Dated: February 20, 2018                Respectfully Submitted,

                                           By: /s/ Emily Y. Rottmann
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                                       Attorneys and Trial Counsel for Roper
                                       Technologies, Inc.


                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 20, 2018, a true copy of the foregoing was

   filed with the Court using the CM/ECF system, which will send notice to the following:

          Susan Tillotson Bunch, Esq.
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          Attorney and Trial Counsel for
          Anthony Lysenko

                                                       /s/ Emily Y. Rottmann
                                                               Attorney




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